     Case 1:20-cv-05834-SLC Document 124 Filed 02/17/23 Page 1 of 1




                         Josh Bernstein, P.C.
                    Civil Rights & Employment Law
                                         By February 22, 2023, Defendants shall file a response to
Josh Bernstein, P.C.                                           (Phone)
                                         Plaintiffs' letter-motion      (646)
                                                                    at ECF No.308-1515
                                                                               123.
188 Grand St., 2nd FL.                                         (Fax) (718) 679-9517
New York, NY 10014                                          jbernstein@jbernsteinpc.com
                                         SO ORDERED           2/17/2023
                                                                    February 16, 2023

RE: Defendants’ Passing Bad Checks & Fraud Upon the Court

The Honorable Sarah L. Cave
United States District Court, Southern District of New York
500 Pearl Street, Room 1670
New York, NY 10007

  B. Moody and K. O’Brien v. Inspire Summits, LLC and Christopher P. Skroupa
                                No. 20-CV-5834

M.J. Cave,

         I represent Plaintiffs B. Moody and K. O’Brien in the above-captioned FLSA
matter in which your Honor approved the parties’ settlement on November 30, 2022, and
write to inform the Court that Defendants have passed two bad checks in connection with
that settlement and issued a stop payment on a third. This is not the first time Defendants
have reached a settlement with a former employee with no intention of paying, and
Defendants explicitly made false representations to Plaintiffs and the Court in order to
secure dismissal of this suit. Plaintiffs therefore respectfully request that your Honor
order Defendants to appear at a date and time convenient to chambers to show cause why
they should not be held in contempt for perpetrating a fraud upon the Court.

 Defendants’ False Representations in the Settlement Agreement and to the Court

        On November 4, 2022, the parties moved for approval of a settlement in the total
amount of $65,000. Payment was to be made in two installments of equal amounts: the
first payment would be made within 7 days of the Court’s “So-Order” of the Agreement,
and the second within 67 days of the Court’s “So-Order” of the Agreement. Executed
Settlement Agreement annexed hereto as Exhibit 1 (See Docket Entry No. 119, 121).
        Because Defendant Christopher P. Skroupa is a serial conman, and Plaintiffs are
aware of a former employee of Defendants by the name of “James” who Mr. Skroupa
entered into a settlement agreement with and then welched, the undersigned counsel
drafted the Agreement such that Defendants were required to provide executed checks to
their counsel covering all payments under the Agreement prior to approval of the
settlement, which counsel would then hold the checks in escrow and turn them over to
Plaintiffs and their counsel when due. Ex. 1 ¶ 2(a). The reason the undersigned counsel
